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9
10                      IN THE UNITED STATES DISTRICT COURT
11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
13   UNITED STATES OF AMERICA,                Case No. 2:21-cr-491-SB
                                              Hon. Stanley Blumenfeld, Jr.
14        Plaintiff,
15   v.                                       HON. JEFFREY LANE
                                              FORTENBERRY’S REDACTED
16   JEFFREY FORTENBERRY,                     REPLY TO THE GOVERNMENT’S
17        Defendant.                          OPPOSITION TO HIS MOTION TO
                                              SUPPRESS STATEMENTS
18
19                                            Hearing Date: Jan. 11, 2022
                                              Hearing Time: 8:00 a.m.
20                                            Time Estimate: One hour
21
                                              Indictment: Oct. 19, 2021
22                                            Pretrial Conference: Feb. 8, 2022
                                              Trial: Feb. 15, 2022
23                                            Last Day: Mar. 2, 2022
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 1 I.      INTRODUCTION
 2         AUSA Mack Jenkins induced nine-term Congressman Jeffrey Fortenberry to speak
 3 to him and his prosecution team by representing to Fortenberry’s counsel, Trey Gowdy, that
 4 Fortenberry was not an investigation target, meaning the government did not regard him as
 5 a “putative defendant.” As Mr. Gowdy declares, he and Congressman Fortenberry took the
 6 government at its word. Later, when the government’s questioning began to shake
 7 Mr. Gowdy’s confidence in this, Mr. Gowdy even sought—and received—reassurance
 8 indicating that AUSA Jenkins’s prior word on the matter was still good.
 9         But, at this point, the discovery, the allegations of the Indictment, and the
10 government’s own briefing in this litigation strongly support the inference that Jenkins’s
11 representation that the government lacked intent to charge Congressman Fortenberry was
12 false. Now that the issue has sharpened into a motion to suppress, AUSA Jenkins and the
13 government have concluded that he is unable to testify in support of his representations to
14 Gowdy. Against Mr. Gowdy’s declaration, the government in fact submits no
15 countervailing testimony at all.
16         Instead, the government attempts to resist suppression by adopting the untenably
17 inconsistent position that—while the government regarded Congressman Fortenberry as
18 having “dug himself a medium-sized hole” in a recorded interview, resulting in a “perilous
19 situation,” he was nevertheless not a target. Opp’n to Mot. to Suppress Statements at 1.
20 This patently flies in the face of the government’s own definition of what a “target” is. See
21 Justice Manual § 9-11.151. Precisely because the government viewed Fortenberry’s
22 situation as “perilous,” and precisely because the government regarded Fortenberry as
23 having demonstrably lied on tape, he was absolutely a target at the time when Jenkins said
24 he was not.
25
26
27         After Gowdy and Jenkins’s initial exchange regarding Fortenberry’s status in the
28 investigation, the government perpetuated the initial misleading impression by reassuring
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 1 Fortenberry’s counsel that the Washington, D.C., interview was no “bullshit 1001 case,”
 2 despite the government’s accusatory questioning. This dispelled Gowdy’s nascent concern
 3 that the government’s view of Fortenberry’s nontarget status had changed before or during
 4 the interview. And next, the government exploited the advantage of Gowdy and
 5 Fortenberry’s misunderstanding even more, by continuing to accept cooperation
 6 information from them even after the Washington, D.C., interview that serves as the basis
 7 for Count Three of the Indictment, still without notifying Gowdy that Fortenberry had
 8 become a target.
 9         Contrary to the government’s opposition brief, it is plain that Gowdy and Fortenberry
10 relied on Jenkins’s representations. See Declaration of Trey Gowdy at ¶¶ 11–14. The fact
11 that Fortenberry wanted to help the government is no answer for the government on this
12 point, given Gowdy’s undisputed declaration that knowing Fortenberry’s status was
13 “imperative” and “there would not have been a subsequent interview” had Jenkins admitted
14 Fortenberry was a target. See id. Moreover, Gowdy and Fortenberry were objectively
15 reasonable for relying on Jenkins’s word. Federal prosecutors’ assurances are supposed to
16 be reliable. See United States v. Hudson, 609 F.2d 1326, 1328 (9th Cir. 1979) (“The federal
17 courts have long been cognizant of the responsibility of federal prosecutors meticulously to
18 fulfill their promises.”). If they could not be relied upon, pre-indictment cooperation
19 through counsel could virtually never happen, because it would simply pose too much
20 danger to the citizen. Any of the government’s questions could then be a trap.
21         For all these reasons, under the circumstances of this case, suppression would be no
22 windfall; it is the only way to approximate treating Fortenberry as courts would treat a
23 victim of analogous (even negligent) misrepresentations in a commercial setting. Though
24 damage has already been done, Fortenberry at least should not continue to face the
25 possibility that the government could use statements to convict him that it obtained from
26 him by denying falsely that the government was already planning to charge him.
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 1 II.      ARGUMENT
 2          A.    The government’s “RELEVANT LAW” section III.A is an attack on a straw
                  man; this is not about a general duty to warn targets, but rather the
 3                government’s false and misleading responses to questions from defense
 4                counsel regarding Fortenberry’s status.

 5          As noted above and set forth in the opening brief, Fortenberry moves to suppress his
 6 statements on the ground that, in making them, he was relying on the government’s
 7 materially false representations, given in response to inquiries by his counsel, that it (a) did
 8 not consider him a target after the Nebraska interview but before the Washington, D.C.,
 9 interview; and (b), the Washington, D.C., interview, was not a “bullshit 1001”; i.e., the
10 interview was not designed to generate charges under 18 U.S.C. § 1001. See, e.g., Mem. of
11 P. & A. Re Mot. to Suppress Statements (“Motion”), Dkt. No. 35, at 8 (page numbering of
12 the brief), 1 12 of 16 (CM/ECF page numbering) (“Here, the Court should hold the
13 government to the necessary implications of its representations that Congressman
14 Fortenberry was not a target after the Nebraska interview and that the Washington, D.C.,
15 interview was not ‘some bullshit 1001 case’ by suppressing the statements he made in
16 reliance on the government’s misrepresentations.”).
17          As against that argument, the government’s proposition of ostensibly “RELEVANT
18   LAW”   that “There Is No Duty to Warn of Target Status and Failures to Warn Do Not
19 Immunize False Statement Crimes” is nonresponsive. Fortenberry is not invoking a
20 supposed general duty to warn. Rather, Fortenberry is relying on his fundamental right not
21 to be placed in a worse position for relying on the misleading representations of a federal
22 prosecutor in response to his attorney’s questions as Fortenberry and the attorney weighed
23 the prospect of further cooperation. Thus, section III.A. of the government’s opposition
24
25
26
27         For brevity, all subsequent citations to filings docketed in this case refer
            1

   exclusively to the page numbers found at the bottom of the pages, rather than the page
28
   numbers automatically generated at the top of each page by the CM/ECF system.
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 1 attacks a “straw man” in place of Fortenberry’s actual argument. 2
 2         The cases cited by the government in section III.A. of the opposition brief, likewise,
 3 are simply not responsive to Congressman Fortenberry’s motion. In none of them did the
 4 defendant or defense counsel seek information from the government regarding the
 5 government’s charging intent before deciding to speak, and then rely on misinformation in
 6 giving statements the defendant moved to suppress on those grounds. Moreover, the
 7 government’s cases addressing suppression arguments were decided as a question of
 8 whether the defendant’s statements were compelled or involuntary under the Fifth
 9 Amendment.
10         That is not Fortenberry’s argument, either. Rather, Congressman Fortenberry’s
11 motion seeks to enforce his due process rights and the contract principles applicable to
12 cooperation between citizens and a federal criminal investigation. See, e.g., Motion at 7–8.
13 His argument is that when he (or any other citizen) asks the government a question so that
14 he can make a fair and prudent choice about whether and how to cooperate, the government
15 may not induce him to speak with an affirmative misrepresentation indicating lack of intent
16 to charge him, and then use the resulting statements, as well as those previously in the
17 government’s possession, to attempt to convict him of a crime.
18         B.     Owing Fortenberry and his counsel a duty of good faith and fair dealing,
                  the government could decline to answer Mr. Gowdy, but could not obtain
19                admissible statements through false or misleading representations.
20         In obtaining cooperation from criminal defendants, the government must adhere at
21 least to the general duties of contracting parties that apply outside the criminal-justice
22 context. See, e.g., United States v. Carrillo, 709 F.2d 35, 36–37, 36 n.1 (9th Cir. 1983) (“an
23 agreement to cooperate may be analyzed in terms of contract law standards”). By the
24 doctrine of promissory estoppel, these duties protect contracting parties from being left in
25 a worse position as a result of relying reasonably and detrimentally on their counterparty’s
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           2
             In another “straw man” attack, the government argues there is not a “false
28
     statements trap defense.” That issue is simply not presented by the motion before the Court.
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 1 assurances that are regarded as part of a larger complex set of transactions. See, e.g., Randy
 2 E. Barnett & Mary E. Becker, Beyond Reliance: Promissory Estoppel, Contract
 3 Formalities, and Misrepresentations, 15 Hofstra L. Rev. 443, 462–67 (1987) (explaining
 4 this principle with detailed analysis of state decisions). Thus, for example, where the status
 5 of contracting parties is obscure—such as in a complex insurance arrangement, which, in
 6 this respect, is not unlike the context of an evolving and secretive criminal investigation—
 7 and one party seeks clarification of the other’s intentions, promissory estoppel will be used
 8 to enforce any such clarifying assurance. See id. at 463–64 (discussing the application of
 9   promissory estoppel in Travelers Indem. Co. v. Holman, 330 F.2d 142, 151–52 (5th Cir.
10 1964), as an example case).
11         The same notions of fairness apply with equal or greater force in the context of
12 cooperation discussions between prosecutor and defense counsel. So here, when Jenkins
13 advised Gowdy that Fortenberry was not a target, Jenkins knew or should have known that
14 a reasonable party in Gowdy and Fortenberry’s position would understand this to mean
15 Jenkins did not then possess a recording of statements by Fortenberry that the government
16 believed were provable lies. To be even more blunt, Jenkins knew or should have known
17 that Gowdy and Fortenberry would understand the assurance to mean the government did
18 not regard Fortenberry as having already “dug” himself into “peril[]”—or a “hole” of any
19 size—as a result of, in the government’s view, “provid[ing] incomplete and inaccurate
20 information.” Opp’n to Motion, Dkt. No. 47, at 1.
21         Though the government contends that its § 1001 warnings at the outset of the
22 Washington, D.C., interview negate any otherwise binding effect of Jenkins’s assurance
23 that Fortenberry was not a target, this overlooks the fact that the misrepresentation took
24 away the element of free, undistorted choice that is supposed to inhere in fair contracting.
25 Regardless of § 1001 warnings, no one would have agreed to cooperate on the terms that
26 the government retrospectively seeks to impose on the Washington, D.C., interview. As
27 noted above, and regardless of AUSA Jenkins’s emailed topics for discussion, Gowdy and
28 Fortenberry had no way to know of Jenkins’s plan to test precisely Fortenberry’s
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 1 recollection of the call from Individual H nine months earlier against a secret recording,
 2 the very existence of which undermined Jenkins’s promise that Fortenberry was not a target.
 3 Under the circumstances, only the government could have provided Gowdy and Fortenberry
 4 the information that Gowdy had conveyed to the government was necessary for Fortenberry
 5 to decide whether to cooperate further—i.e., whether Fortenberry was, in fact, a target—
 6 but the government withheld it instead. Whatever this is, it isn’t “good faith and fair
 7 dealing,” though all contracting parties—federal prosecutors included—owe as much to
 8 their counterparties. See United States v. Henry, 758 F.3d 427, 431 (D.C. Cir. 2014)
 9 (acknowledging prosecutors owe this duty); cf. also Santobello v. New York, 404 U.S. 257,
10 261 (1971) (observing that myriad aims of the criminal-justice system “presuppose fairness
11 in securing agreement between an accused and a prosecutor”).
12         On these facts, mere contract-based rights should be enough for Fortenberry to be
13 entitled to relief, but, as a criminal defendant, Fortenberry has additional constitutional
14 rights. See Carrillo, 709 F.2d at 36 n.1; United States v. Farmer, 543 F.3d 363, 374 (7th
15 Cir. 2008) (supplementing ordinary contract principles with the concern that the bargaining
16 process not violate the defendant’s rights to fundamental fairness). Thus:
17         [Contract rules] have to be applied to plea agreements with two things in mind
18         which may require their tempering in particular cases. First, the defendant’s
           underlying “contract” right is constitutionally based and therefore reflects
19         concerns that differ fundamentally from and run wider than those of
20         commercial contract law. Second, with respect to federal prosecutions, the
           courts’ concerns run even wider than protection of the defendant’s individual
21         constitutional rights—to concerns for the “honor of the government, public
22         confidence in the fair administration of justice, and the effective administration
           of justice in a federal scheme of government.”
23
24 United States v. Clark, 218 F.3d 1092, 1095 (9th Cir. 2000) (alteration omitted) (quoting 5
25 Wayne R. Lafave, Jerold H. Israel & Nancy J. King, Criminal Procedure, § 21.2(d), at 57
26 (2d ed. 1999)). For these reasons, federal prosecutors must “meticulously fulfill their
27 promises.” Hudson, 609 F.2d at 1328; see also Motion at 7–8.
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 1         At a minimum, therefore, the government could not mislead Fortenberry or his
 2 counsel or exploit their palpable misunderstanding of the government’s charging intent, and
 3 then violate that understanding. Unfortunately, however, that is what happened.
 4         C.    The government’s representations to defense counsel before and during
                 the July 17, 2019, interview in Washington, D.C., were indeed false and
 5               misleading.
 6         Again, in overview, Gowdy asked Jenkins whether Fortenberry was a target and
 7 Jenkins told Gowdy that Fortenberry was not; he was a mere subject and even “trending”
 8 in the opposite direction, away from being a target. 3 The government’s defense of this
 9 representation by Jenkins is now to claim that it was true. In other words, the government
10 claims that it actually did not regard Fortenberry as a target, and even saw him becoming
11 less and less so. But the record belies the government’s self-serving post-hoc contention.
12               1.     The government’s characterizations of what it calls Fortenberry’s
13                      “perilous situation” before the Washington, D.C., interview reveal
                        that the government considered him a target.
14
          Here is how the government summarized its investigation in the first paragraph of its
15
   briefing in this case:
16
          Defendant . . . repeatedly lied in recorded statements to Los Angeles federal
17        investigators conducting a criminal inquiry into illegal foreign and conduit
          contributions after the evidence led them literally to defendant’s doorstep.
18
          Defendant was a subject of the investigation because he received illegal
19        foreign contributions from Nigerian billionaire Gilbert Chagoury, as part of
          Chagoury’s scheme to influence U.S. politicians. It is undisputed that
20
          defendant’s campaign received the illicit money. It is undisputed that
21        defendant’s statements to investigators regarding this topic were false. It
          cannot be credibly disputed that such statements were material—indeed,
22
          they went to the heart of the investigation and were intended by defendant
23        to minimize his knowledge of any wrongdoing and his campaign’s
24        acceptance of illegal foreign funds. When confronted, defendant, realizing
          the peril of his situation but failing to realize the strength of the
25
26
          “A ‘target’ is a person as to whom the prosecutor or the grand jury has substantial
           3

27 evidence linking him or her to the commission of a crime and who, in the judgment of the
28 prosecutor, is a putative defendant.” Justice Manual § 9-11.151.
                                            7
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 1         government’s evidence, elected to eschew his oath and instead began his ill-
           fated campaign of concealment and lies.
 2
 3 Opp’n to Mot. to Dismiss for Lack of Venue, Dkt. No. 18, at 1 (emphasis added). As the
 4 government similarly tells the story in opposing the motion to suppress, in the government’s
 5 assessment, Fortenberry had “dug himself a medium-sized hole” in the recorded interview
 6 in Nebraska, resulting in a “perilous situation.” Opp’n to Mot. to Suppress Statements at 1.
 7 These vividly recounted government perspectives tell the Court everything it needs to know
 8 to determine whether the representation that Fortenberry was not a target (though at the
 9 bottom of a “perilous” self-dug “hole”) was fair and accurate.
10               2.     The government’s approach to investigating Fortenberry likewise
                        reveals he was a target well before the Washington, D.C.,
11                      interview.
12         Consider also the steps and methods used by the government to investigate
13 Fortenberry. After identifying him as a “subject” for the fact that his campaign received
14 contributions from Chagoury, but understanding that there was still no evidence Fortenberry
15 knew those donations had a foreign source at the time, the government directed Individual
16 H to place a secretly recorded call to Fortenberry to tell him that his campaign had received
17 funds in a particular amount, channeled through particular persons. The result was the
18 government’s possession of a secretly recorded call in which its informant told Fortenberry
19 the money Fortenberry’s campaign received “probably” had come from Chagoury. See
20 Indictment ¶¶ 14–15.
21         The government argues that Fortenberry heard, understood, and quickly adopted as
22 fact the news from Individual H, but nevertheless brushed it aside in requesting an
23 additional fundraiser, which the government treated as significantly incriminating in
24 opposing the motion to dismiss for lack of venue. There, the government emphasized its
25 allegation that Fortenberry—
26
27         did not express surprise or concern or seek clarification about Individual H’s
           admissions that illegal foreign cash had been funneled to his campaign.
28
           Instead, defendant simply continued to push for the second fundraiser,
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 1         explaining that he hoped to “have some continuation of the fine generosity”
           that he had received from the first (illicitly funded) fundraiser and offering to
 2
           speak with his friend Baaklini—a key facilitator of the illegal contributions to
 3         defendant’s campaign—to see if he could again “help” with the fundraiser.
 4 Opp’n to Mot. to Dismiss for Lack of Venue at 6.
 5         The government even regards Fortenberry’s failure, following the Individual H call,
 6 to amend his Federal Election Commission (“FEC”) reports as a criminal violation of
 7 § 1001. See id. at 7; Opp’n to Mot. to Dismiss Count One as Multiplicitous at 10 (relying
 8 on Indictment’s allegations of failure to amend FEC reports). The Indictment alleges:
 9            Despite being told by Individual H about the illegal donations, defendant
              FORTENBERRY did not file an amended report with the FEC regarding
10            the 2016 Fundraiser. Defendant FORTENBERRY also did not return or
11            otherwise try to disgorge the contributions from the 2016 Fundraiser after
              learning on the 2018 Call with Individual H that they were illegal
12            contributions. Rather, it was not until after the FBI and USAO interviewed
13            him in July 2019 that defendant FORTENBERRY disgorged the
              contributions.
14
15 Indictment ¶ 16 (emphasis added). The government claims further still that, by the time of
16 the Washington, D.C., interview at the latest, Fortenberry actually knew his campaign had
17 received illegal contributions. Id. at ¶ 19.c.
18         This viewpoint, embodied in the Indictment and the government’s briefing, did not
19 arise later.
20
21
22         That is why the Nebraska interview was conducted in the manner that it was. Agent
23 Carter secretly recorded Congressman Fortenberry during a visit to Fortenberry’s home on
24 a weekend night without advance notice, and grilled him concerning his knowledge of
25 possible illegal donations to his campaign, including the purported facts stated or insinuated
26 by Individual H in his recorded call to Fortenberry nine months before. See, e.g., Indictment
27 at ¶ 20.a., c. Indeed, again as the government claimed in opposing the motion to dismiss for
28 lack of venue, in the Nebraska interview—
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 1         [t]he . . . agents’ questions focused on the CDCA Subjects and [Fortenberry’s]
           2016 fundraiser in Los Angeles. Defendant repeatedly denied knowing about
 2
           any illegal conduit contributions to his campaign, including after being
 3         specifically asked about Individual H and Baaklini. (Indictment ¶ 19(a)(i), ¶
           20.) He denied receiving money from Chagoury. (Id. ¶ 19(a)(iii).) Defendant
 4
           also falsely stated that “the only people [he] received money for are on the
 5         financial disclosure.” (Id. ¶ 19(a)(ii), ¶ 20(b)-(c).)
 6 Opp’n to Mot. to Dismiss for Lack of Venue at 7–8 (emphasis added).
 7         It was with these two recordings in hand, and
 8
 9                               ; that Jenkins told Gowdy that Fortenberry was not a target but
10 a subject “trending toward” a witness. Gowdy Decl. at ¶ 12.
11         To be sure, “target” status is defined as a subjective concept, but that does not make
12 representations about it meaningless. By definition, even a merely “putative” defendant is
13 a “target”; it is not required that the prosecutor have made a final decision to charge. Justice
14 Manual § 9-11.151. And, contrary to the government’s brief, 4 neither is proof by a
15 preponderance of evidence or anything close to proof beyond reasonable doubt required to
16 be a “target.” Id. Being a target requires only that the government have what it considers
17 “substantial evidence.” Id. Again, in the face of this definition, the government’s posture
18 that the government considered Fortenberry at once in “peril[]”—at the bottom of a self-
19 dug “medium-sized hole”—and yet not a target is a painful contortion. The Court should
20 reject it.
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            See Opp’n to Motion to Suppress Statements at 10 (arguing—as if ignorant of the
   Justice Manual’s “substantial evidence” standard for being a target—that Fortenberry was
27 not a “putative defendant” because “the government did not feel it could prove defendant’s
28 guilt of making a material false statement beyond a reasonable doubt” (emphasis added)).
                                           10
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 1                3.    AUSA Jenkins has failed to testify in support of the government’s
                        equivocal suggestion that his view of the evidence differed from
 2                      that of his lead FBI case agent.
 3         For the reasons above, the government’s assertion that Fortenberry “was plainly not
 4   a target” even after the Nebraska interview is incredible. Opp’n to Mot. to Suppress
 5   Statements at 9. It is all the more so for the government’s conspicuous failure to submit any
 6   declaration from AUSA Jenkins about how he actually viewed the evidence at that time of
 7   his communications with Mr. Gowdy.
 8         This is both substantively and procedurally problematic for the government. It is
 9   substantively problematic because, as the government admits, “target” status is subjective
10 and in the mind of the prosecutor. Id. at 10. Here, the existing evidence, which includes, but
11 is not limited to Exhibit B to the motion to suppress statements, shows that Fortenberry was,
12 in fact, a target. The government has offered no countervailing evidence.
13        And it is procedurally problematic because the government’s opposition filing was
14 its opportunity to submit any such evidence. See Local Rule 7-9 (requiring filing and serving
15 “the evidence upon which the opposing party will rely in opposition to [a] motion” with the
16 opposition brief); Local Crim. Rule 57-1 (“When applicable directly or by analogy, the
17 Local Rules of the Central District of California shall govern the conduct of criminal
18 proceedings before the District Court, unless otherwise specified.”).
19
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25                                               In any event, given Jenkins’s leadership of, and
26 close collaboration with, the FBI on the investigation at issue, his declaration would have
27 faced an uphill battle to persuade
28
                                           11
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1          Moreover, regardless of what Jenkins intended when he first spoke to Gowdy, it is
2 readily apparent that, by the time of the Washington, D.C., interview, he was prepared to
3 lay the groundwork for a false-statement charge, which is consistent with
4                                             target treatment. Indeed, without disclosing to
5 Fortenberry his recordings or offering anything for Fortenberry to review in advance, see
6 Ex. B to Opp’n to Mot. to Suppress Statements, AUSA Jenkins quizzed the Congressman
7 on the exact contents of the 2018 call from Individual H that Jenkins had personally
8 approved or requested by the FBI. That is a “gotcha” tactic that results only from design
9 and preparation. 5
10
11         5
             Even without a declaration from AUSA Jenkins, the government alludes to the idea
12   that a change of heart by Jenkins after the initial contact with Gowdy or the possibility of
     such a change later could save the government from having made a material
13
     misrepresentation. See Opp’n to Mot. to Suppress Statements at 10–12 (“defendant
14   remained a subject unless and until prosecutors informed him his status had . . . changed”).
     But, for months after the Washington, D.C., interview, during which the government
15
     accepted further post-interview cooperation from Fortenberry, the government provided no
16   update. See Ex. C to Opp’n to Mot. Suppress Statements (Jan. 18, 2020, email from AUSA
     Jenkins, which the government’s brief references on page 17 as the time when Gowdy was
17
     “advised that defendant was being investigated for false statements and that the government
18   had evidence that he lied”).
19         If Jenkins’s assessment of Fortenberry’s status changed after he told Gowdy that
     Fortenberry was not a target but a subject “trending” toward witness, then Gowdy had
20   reason to expect Jenkins would update him accordingly, as called for by ABA Standards.
21   See ABA Standards for Criminal Justice: Prosecutorial Investigations, Standard 1.4(b) on
     “Victims, Potential Witnesses, and Targets During the Investigative Process” (approved
22
     Feb. 2008) (“Upon request and if known, the prosecutor should inform a person or the
23   person’s counsel, whether the person is considered to be a target, subject, witness or victim,
     including whether their status has changed, unless doing so would compromise a
24
     continuing investigation.” (Emphasis added.)). Moreover, Fortenberry was, of course, a
25   represented party, and California ethics rules would prohibit attorney contact with a
     represented party induced by a misrepresentation to the represented party’s counsel, cf. Cal.
26
     R. Prof’l Conduct 4.2(a), a duty which the ABA further applies to prosecutors when they
27   are conducting investigations before the filing of charges. See Standard 1.4(f) (“The
     prosecutor should comply with applicable rules and case law that may restrict
28
     communications with persons represented by counsel.”).
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 1                5.     The denial of a “bullshit 1001” compounded Gowdy’s palpable
                         misunderstanding.
 2
 3         Fortenberry’s motion to suppress is based on a dynamic and evolving set of
 4 interactions between the government, on the one hand, and Fortenberry and his counsel, on
 5 the other. The government’s misleading communications to Fortenberry and his counsel
 6 certainly did not end with a “single . . . telephone communication” that the government
 7 complains was “documented nowhere” (other than in the sworn declaration of a former
 8 Congressman and Assistant U.S. Attorney), but which the government does not actually
 9 contest with any countervailing declaration from Jenkins. Opp’n to Mot. to Suppress
10 Statements at 9. AUSA Jenkins’s response to Mr. Gowdy during the intermission from the
11 Washington, D.C., interview served to further compound the misleading effect of the initial
12 misrepresentation that Fortenberry was not a target and “trending” toward mere witness
13 status. See Gowdy Decl. at ¶ 17. In light of the accusatory tone the Washington, D.C.,
14 interview had taken on and Jenkins’s prior representation, Mr. Gowdy asked AUSA Jenkins
15 if the interview was “some bullshit 1001 case.” Id. at ¶¶ 17–18. Mr. Gowdy used that term
16 “because [he] believed AUSA Jenkins when [Jenkins] told [Gowdy} the Congressman was
17 a subject trending toward a witness during [their] initial call.” Id. at ¶ 18. If Jenkins’s view
18 had somehow changed, as it appeared that it might have, Gowdy “wanted to know that
19 immediately. [Gowdy] would not have advised Congressman Fortenberry to return to the
20 interview room had the government not answered in the negative when [Gowdy] asked if
21 [it] was a ‘bullshit 1001 case.’” Id.; cf. also ABA Standards for Criminal Justice:
22 Prosecutorial Investigations, Standard 1.4(b) (prosecutors’ duty to update).
23         By the government’s view, Fortenberry was only more likely to be charged with a
24 false statement after apparently denying (directly before Gowdy’s question of a seeming
25 “bullshit 1001”) that Individual H told him precisely what the government contends
26 Individual H told Fortenberry. See Opp’n to Mot. to Suppress Statements at 14–15; Ex. C
27 to Opp’n to Mot. to Suppress Statements at 57–58. Indeed, by the explanation of the
28 government’s brief, the government believed Fortenberry “repeatedly and demonstrably
                                           14
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 1 l[ied]” in violation of federal law and not “about some ancillary, unimportant fact.” Opp’n
 2 to Mot. to Suppress Statements at 14–15. Further, according to the government’s view, “[i]t
 3 was not even as if the government’s proof of falsity was based on weak speculative or
 4 hearsay evidence (as opposed to crystal clear recordings of defendant eagerly discussing
 5 the very things he later lied about).” Id. at 15.
 6         During that first intermission in the Washington, D.C., interview, right after
 7 Fortenberry allegedly denied what the recording showed that Individual H had told him,
 8 Gowdy expressed ongoing but suddenly uncertain belief in Jenkins’s prior not-a-target
 9 assurance by seeking confirmation that the interview was not “some bullshit 1001 case.”
10 See Gowdy Decl. at ¶¶ 16–18. As of that time, it is apparent that the government believed
11 it had strong evidence of Fortenberry’s guilt and likely considered him not merely a
12 “putative defendant” against whom the evidence was “substantial,” but a near-certain
13 defendant against whom the government could prove a case under 18 U.S.C. § 1001 beyond
14 reasonable doubt. See, e.g., Opp’n to Mot. to Suppress Statements at 14–15.
15         That is why the duty of good faith and fair dealing and Jenkins’s prior course of
16 communications with Gowdy made it imperative for Jenkins to clarify the matter then and
17 update Gowdy on his view of Fortenberry’s status in the investigation. Yet Jenkins provided
18 no update or clarification and simply answered that a “bullshit 1001” was not what the
19 interview was. Gowdy Decl. at ¶ 18. This understandably led Gowdy to believe that his
20 client’s status had not materially changed in the government’s eyes, even though it had.
21         In addition to the duty of good faith and fair dealing that attached to Jenkins merely
22 as a contracting party, California attorneys generally have a duty not to deceive, and
23 prosecutors are supposed to be held to even higher standards. See, e.g., Morrow v. Super.
24 Ct., 36 Cal. Rptr. 2d 210, 217 (Cal. Ct. App. 1994), as modified (Jan. 5, 1995); see also
25 Hudson, 609 F.2d at 1328 (federal courts’ expectations of prosecutors to “meticulously
26 fulfill” their promises). Where does it leave criminal defense counsel or represented
27 investigation subjects or targets if prosecutors can benefit from deceiving them?
28         Under the circumstances of the first intermission in the Washington, D.C., interview,
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 1 it was Jenkins’s responsibility to correct Gowdy’s misunderstanding because it was material
 2 and palpable from Gowdy’s “bullshit 1001” question. Indeed, in interpreting contract terms
 3 to which the parties have attached different meanings, the meaning attached by one of them
 4 prevails if “that party had no reason to know of any different meaning attached by the other,
 5 and the other had reason to know the meaning attached by the first party.” Restatement
 6 (Second) of Contracts § 201(2)(b) (1981). Here, having denied to Gowdy that Fortenberry
 7 was a target and denied thereafter that the Washington, D.C., interview was for a “bullshit
 8 1001 case,” Jenkins had reason to know that Gowdy had operated and was continuing to
 9 operate on the misunderstanding that the government’s contemporaneous intention was not
10 to charge Fortenberry with crimes. Gowdy, on the other hand, having received those
11 responses from Jenkins, did not have reason to know the government’s intent to charge
12 Fortenberry. Therefore, under contract principles, the government must suffer the
13 consequences of failing to correct the palpable misunderstanding that it created. (For related
14 reasons—i.e., the government “had reason to know of [Gowdy and Fortenberry’s]
15 mistake[n understanding] or [the government’s] fault caused th[at] mistake”—the seeming
16 contract for cooperation between the government and Fortenberry was “voidable” by
17 Fortenberry. See Restatement (Second) of Contracts § 153 (1981).)
18         D.     The government fails in its attempt to counter Fortenberry’s evidence of
                  reliance and inducement.
19
20         The government claims for the following reasons that it did not induce Fortenberry’s
21 cooperation: First, it was Gowdy’s contact with the government that resulted in the
22 Washington, D.C., interview; second, Fortenberry was “keenly interested” in assisting the
23 government; third, the government informed Gowdy in advance that it would ask about the
24 Nebraska interview and “conversations [defendant] had regarding donations to his
25 campaign with or regarding [Individual H], Baaklini, and Chagoury”; and fourth, Gowdy
26 was an attorney and Fortenberry was a politician. Opp’n to Mot. to Suppress Statements at
27 15–16.
28
                                           16
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 1        None of these reasons is convincing. Regardless of any of these circumstances, the
 2 desire to help the government’s investigation on condition of advance clarification of the
 3 government’s intentions of course does not equate to a blind commitment to accept any and
 4 all risk of criminal prosecution. No evidence undermines Gowdy’s declaration that
 5 Jenkins’s representations—
 6            • induced Fortenberry to interview (after the “not a target” representation);
 7            • induced Fortenberry to continue to interview (after the “not a ‘bullshit 1001’”
 8               representation); and
 9            • induced Fortenberry to continue to cooperate after the conclusion of the
10               Washington, D.C., interview (with no update as to Fortenberry’s target status
11               until five months later).
12 See Gowdy Decl. at ¶¶ 11–14 (“imperative” and “critical” to know Fortenberry’s status;
13 without the assurances given, the Washington, D.C., interview “would not have been”); 20–
14 21 (post-Washington, D.C., interview follow-up cooperation efforts without an update on
15 Fortenberry’s target status until January 2020); Motion at 7 (post-Washington, D.C.,
16 interview follow-up). The government’s attempts to undermine Fortenberry’s evidence of
17 inducement and reliance fail.
18 III.   CONCLUSION
19        Fundamental fairness and contract principles call for suppressing the Nebraska and
20 Washington, D.C., statements because that is the only way to enforce the government
21 promises that induced Fortenberry’s cooperation through counsel.
22
23 Date: December 21, 2021                   BIENERT KATZMAN
                                             LITTRELL WILLIAMS LLP
24
25
                                             By:                                    ________
26
                                               John L. Littrell
27                                             Ryan V. Fraser
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28
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